      Case 2:17-cv-00358-RMP      ECF No. 103   filed 03/20/20   PageID.885 Page 1 of 6




 1                                                 The Honorable Rosanna M. Peterson
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14                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WASHINGTON
15
     RONALD W. ROUSH and                    No. 2:17-CV-00358-RMP
16   JAMES H. HUNTER,
17                                          STIPULATED MOTION TO
                        Plaintiffs,         AUGMENT BRIEFING SCHEDULE
18
19         v.                               March 20, 2020 at 6:00 p.m.
20                                          Without Oral Argument
     AKAL SECURITY, INC.
21
22                      Defendant.
23
24         Defendant Akal Security, Inc. (“Akal”) and Plaintiffs, Ronald W. Roush and
25
     James H. Hunter, file this stipulated motion to augment briefing schedule related to
26
27   Plaintiffs’ motion for partial summary judgment.
28


     STIPULATED MOTION TO AUGMENT BRIEFING                WITHERSPOON ∙ KELLEY
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 1         1.     On February 12, 2020, the Plaintiffs filed a Stipulated Motion to
 2   Augment Briefing Schedule related to Plaintiffs’ Motion for Partial Summary
 3
     Judgment on Plaintiffs’ Claim of Appropriation. (ECF No. 95)
 4
 5         2.     The Stipulated Motion requested that the Court augment the briefing
 6
     scheduling to allow Plaintiffs’ depositions to be taken prior to Akal’s response to
 7
 8   Plaintiffs’ Motion for Summary Judgment.
 9
           3.     The Court granted the Stipulated Motion by TEXT-ONLY Order on
10
     February 12, 2020. (ECF No. 96)
11
12         4.     In late February, the first reported cases of COVID-19 in the United
13
     States were confirmed in Washington State.
14
15         5.     Nevertheless, to try to keep the schedule in this case on track, on March
16
     9, 2020, counsel for Akal traveled from Mississippi to Washington to conduct
17
18   Plaintiffs’ depositions.

19         6.     On March 11 and 12, 2020, Akal’s counsel deposed Plaintiffs.
20
           7.     The court reporter has informed Akal that the nation-wide spread of
21
22   COVID-19, the burden to adapt to new restrictions imposed to slow the spread of the
23
     virus, and the press of other business have prevented the completion of Plaintiffs’
24
25   deposition transcripts. Just yesterday, the court reporting service advised that “with
26   everyone trying to work remotely things just aren’t running as smoothly as [they]
27
     would like, this is not an excuse, just unfortunately the truth.”
28


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 1           8.       Akal needs the Plaintiffs’ deposition transcripts to properly respond to
 2   Plaintiffs’ Motion for Partial Summary Judgment.
 3
             9.       Additionally, counsel for Akal has been inundated with requests from
 4
 5   employer-clients issues related to COVID-19 and the Families First Coronavirus
 6
     Response Act, which became law just two days ago (e.g., layoffs, furloughs, leaves
 7
 8   of absence and adjusting to telework environments). Further, the undersigned is
 9
     working away from his office under a telework mandate, further slowing the
10
     completion of a response once the deposition transcripts are received.
11
12           10.      Akal and the Plaintiffs agree that in light of the issues discussed here the
13
     briefing schedule relative to Plaintiffs’ Motion should be augmented.
14
15           11.      The motion deadline is still over seven weeks away (i.e., May 8, 2020),
16
     and the trial date is not scheduled until October 5, 2020. Thus, this motion will not
17
18   delay this case.

19           12.      For these reasons, the Parties file this stipulated request that the
20
     deadlines for Plaintiffs’ Motion for Partial Summary Judgment be amended as
21
22   follows:
23
                   a. Defendant’s Response to Plaintiffs’ Motion for Partial Summary
24
25                    Judgment shall be filed not later than 7 days after receipt of Plaintiffs’
26                    deposition transcripts. 1
27
28       1
             If the Court prefers to select a date certain, we anticipate having the transcripts from the court
     reporter no later than April 3, and hopefully sooner.

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 1               b. Plaintiffs’ reply to Defendant’s Response to Plaintiffs’ Motion for
 2                  Partial Summary Judgment shall be filed within twenty-one days of the
 3
                    filing of Defendant’s Response.
 4
 5         13.      The parties have conferred and stipulate to the relief requested in this
 6
     Motion.
 7
 8         14.      This request is not interposed to cause delay, and it will not prejudice the
 9
     rights of any party to this action.
10
           For these reasons, Defendant Akal Security, Inc. and Plaintiffs, Ronald W.
11
12   Roush and James H. Hunter, respectfully request that their Stipulated Motion to
13
     Augment Briefing Schedule be granted.
14
15         RESPECTFULLY SUBMITTED, this 20th day of March, 2020.
16
                                        WITHERSPOON • KELLEY
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18                                            s/ William M. Symmes
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on the 20th day of March, 2020:
 3
         1.   I electronically filed the foregoing with the Clerk of the Court using the
 4
     CM/ECF System, which will send notification of such filing to the following:
 5
 6
                        James H. Hunter at james.hunter@avsec-sme.com
                        Plaintiff, Pro Se
 7
 8                      Ronald W. Roush at ron.roush@avsec-sme.com
                        Plaintiff, Pro Se
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10                      Timothy M. Threadgill at tim.threadgill@butlersnow.com
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17                      Stanley F. Corbit at sfc@witherspoonkelley.com
18                      Attorney for Defendant
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           2.     I caused to be mailed by United States Postal Service the document to the
20   following at the address listed below:
21
22
                        NONE
23                                          s/Timothy M. Threadgill
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